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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


In re:

MICHAEL TIDWELL and                                   Case No.: 6:19-bk-02629-KSJ
BETTIE TIDWELL,                                       Chapter: 7

         Debtors.                                 /

                         QUICKEN LOANS INC.’S VERIFIED
                    MOTION FOR RELIEF FROM AUTOMATIC STAY


         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

        Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
paper without further notice or hearing unless a party in interest files a response within 21
days from the date set forth on the proof of service, plus an additional three days for
service if any party was served by U.S. Mail.
        If you object to the relief requested in this paper, you must file your response with
the Clerk of the Court at 400 W. Washington Street, Suite 5100, Orlando, FL 32801 and
serve a copy on the movant’s attorney, McCalla Raymer Leibert Pierce, LLC, 110 S.E. 6th
Street, Suite 2400, Ft. Lauderdale, FL 33301, and any other appropriate persons within the
time allowed. If you file and serve a response within the time permitted, the Court may
schedule and notify you of a hearing, or the Court may consider the response and may
grant or deny the relief requested without a hearing.
        If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.


Quicken Loans Inc. (the “Secured Creditor”), its successors and/or assigns, as a secured creditor

of the bankruptcy estate of Michael Tidwell and Bettie Tidwell (the “Debtors”), seeks relief from

the automatic stay pursuant to 11 U.S.C. § 362(d), and in support thereof, states as follows:

         1.     Debtors' Bankruptcy Case. On April 22, 2019, the Debtors filed the above-

captioned Chapter 7 bankruptcy case.

         2.     Jurisdiction. Jurisdiction of this matter is properly before this Court pursuant to
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28 U.S.C. § 1334 and Rule 4001(a) of the Federal Rules of Bankruptcy Procedure.

       3.         The Note and Mortgage. On September 27, 2010, the Debtors executed and

delivered a note (the “Note”) in the principal amount of $340,236.00, which is secured by a

mortgage (the “Mortgage”). The Mortgage was executed by Debtors. The Mortgage is recorded

in Official Records Book 10116 at Page 6020, of the Public Records of Orange County, Florida.

A copy of the Mortgage, together with the Note, and any applicable Assignments, are attached

hereto as Exhibit A, B and C.

       4.         Collateral. Secured Creditor is entitled to enforce the Note and Mortgage, which

are secured by the real property (the “Property”) located at 7233 Hawksnest Blvd, Orlando,

Florida 32835 and further described as follows:




       5.         Secured Creditor’s Claim. The Debtors owe Secured Creditor an outstanding

principal balance of $285,713.63, plus applicable interest, penalties, fees and costs, and have

defaulted by failing to make the payment due on February 1, 2019, and all subsequent payments

due thereafter.

       6.         Relief Requested. Secured Creditor requests the entry of an order modifying the

automatic stay pursuant to 11 U.S.C. § 362(d) to permit Secured Creditor to enforce all of its in

rem remedies against the Property pursuant to the Note and Mortgage. The requested relief

should be granted for the following reasons:


                 Secured Creditor’s interest is not being adequately protected as the loan is due for
                  the February 1, 2019 payment and all subsequent payments due thereafter.


                 Since the instant case is a Chapter 7 bankruptcy, the Property is not
                  necessary to an effective reorganization.
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               The Property is not claimed as exempt on Schedule C.

               Interest continues to accrue; and

               Property taxes continue to accrue.

       7.       Loss Mitigation. Secured Creditor requests it be permitted to contact the Debtors

regarding potential loss mitigation options pursuant to applicable non-bankruptcy law, including

loan modifications, deeds in lieu of foreclosure, short sales and/or any other potential loan

workouts or loss mitigation agreements.

       8.       Request for Attorney’s Fees and Costs. Secured Creditor requests attorney’s fees

in the amount of $350.00 and costs of $181.00, as a result of filing the instant motion.

       Wherefore, Secured Creditor requests the entry of an order modifying the automatic stay

and for such other and further relief as the Court deems just and proper.


                                                     McCalla Raymer Leibert Pierce, LLC

                                           By:       /s/ Melbalynn Fisher
                                                     Melbalynn Fisher
                                                     Florida Bar No. 107698
                                                     Attorney for Creditor
                                                     110 S.E. 6th Street, Suite 2400
                                                     Ft. Lauderdale, Florida 33301
                                                     Phone: 954-526-5846
                                                     Fax: 954-526-5846
                                                     Email: melbalynn.fisher@mccalla.com
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                                       VERIFICATION


        The undersigned _Cherita Martin________________________ (name of witness),

as the _Loss Mitigation Officer_____________________________ (title/position of witness)

of Quicken Loans Inc.; hereby declares under penalty of perjury that:

        (i) I have knowledge of the business books and records of Quicken Loans Inc.;

        (ii) Based on my review of the business books and records of Quicken Loans Inc., the

information and allegations set forth in paragraphs 3 through 5 above, are true and correct to the

best of my knowledge; and

        (iii) The documents attached hereto as Exhibit A, B, and C are true and correct copies of

the originals.

                                              Cherita Martin, Loss Mitigation Officer

                                              Name and Title of Witness
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                              CERTIFICATE OF SERVICE


                                 June 7, 2019
       I HEREBY CERTIFY that on _____________________, a true and correct copy of

the foregoing was served by U.S. Mail, First Class to Michael Tidwell, 2846 Longleaf

Court, Kissimmee, FL 34746 and Bettie Tidwell, 2846 Longleaf Court, Kissimmee, FL

34746; and those parties receiving CM/ECF service


      John Blair Boyd bk@svllaw.com
      Jeffrey S Fraser bkfl@albertellilaw.com, anhsalaw@infoex.com
      Randy E Hillman hillmanlaw@outlook.com
      Arvind Mahendru amtrustee@gmail.com,
       amahendru@ecf.axosfs.com;am01@trustesolutions.net
      Ashley Prager Popowitz Ashley.popowitz@mrpllc.com, FLBKECF@mrpllc.com
      United States Trustee - ORL7/13 USTP.Region21.OR.ECF@usdoj.gov




                                          By:        /s/ Melbalynn Fisher
                                                     Melbalynn Fisher
